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                                                                               United States District Court
                                                                                   Southern District of Texas
                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS                                 ENTERED
                               HOUSTON DIVISION                                      March 13, 2019
                                                                                   David J. Bradley, Clerk



UNITED STATES OF AMERICA                      §
                                              §
versus                                        §          Case No. 4:19−mj−00432
                                              § Charging District: USDC of Massachusetts
                                              §
Martin Fox                                    § Charging District's Case No. 1:19cr10081

         ORDER REQUIRING DEFENDANT TO APPEAR IN THE DISTRICT
          WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

       After a hearing in this court, the defendant is released from custody and ordered to
appear in the district court where the charges are pending to answer those charges. If the time
to appear in that court has not yet been set, the defendant must appear when notified to do so.
Otherwise, the time and place to appear in that court are:

Place:                                                   Location: 24, 7th Fllor
USDC of Massachusetts, Boston Division
1 Courthouse Way, Suite 2300; Boston, MA 02210           Date and Time:
                                                         03.25.19 at 2:30PM

       The clerk is ordered to transfer any bail deposited in the registry of this court to the
clerk of the court where the charges are pending.


Date: 3/12/2019
